Case 1:14-cv-00066-SOM-BMK Document 40 Filed 01/15/15 Page 1 of 14   PageID #:
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   1                    IN THE UNITED STATES DISTRICT COURT

   2                         FOR THE DISTRICT OF HAWAII

   3                                   )
        B.E.L., individually and on    )       CV 14-00066 SOM-BMK
   4    behalf of his minor child,     )
        B.E.L.,                        )       Honolulu, Hawai
   5                                   )       October 14, 2014
                  Plaintiff,           )       9:45 A.M.
   6         vs.                       )
                                       )       Hearing on Administrative
   7    STATE OF HAWAII, DEPARTMENT    )       Record
        OF EDUCATION, et al.,          )
   8                                   )
                  Defendants.          )
   9    _______________________________)

  10                          TRANSCRIPT OF PROCEEDINGS
                       BEFORE THE HONORABLE SUSAN OKI MOLLWAY
  11                        UNITED STATES DISTRICT JUDGE

  12    APPEARANCES:

  13    For the Plaintiff:               KEITH H. S. PECK
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  15
        For the Defendant:               CARTER K. SIU
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  18
        Official Court Reporter:         Debra Kekuna Chun, RPR, CRR
  19                                     United States District Court
                                         300 Ala Moana Blvd. Ste. C285
  20                                     Honolulu, HI 96850
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        Proceedings recorded by machine shorthand, transcript produced
  25    with computer-aided transcription (CAT).
Case 1:14-cv-00066-SOM-BMK Document 40 Filed 01/15/15 Page 2 of 14   PageID #:
                                  1120
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   1    TUESDAY, OCTOBER 14, 2014                 9:35 O'CLOCK A.M.

   2                 THE CLERK:   Civil 14-66 SOM-BMK, B.E.L., et al.,

   3    versus State of Hawai'i Department of Education, et al.           This

   4    case has been called for a Hearing on Administrative Record.

   5                 Counsel, please make your appearances for the record.

   6                 MR. PECK:    Good morning, Your Honor.    Keith Peck on

   7    behalf of plaintiffs.

   8                 THE COURT:   Good morning.

   9                 MR. SIU:    Good morning Your Honor.   Deputy Attorney

  10    General Carter Siu here on behalf of the Department of

  11    Education.

  12                 THE COURT:   Okay.    You can both sit down.

  13                 I am sorry that I didn't give you my usual prehearing

  14    inclination to give you some idea before preparing for this

  15    hearing what my thoughts were.       I was really sick last week; so

  16    I didn't work on it.      Sorry.

  17                 MR. PECK:    Not at all, Your Honor.

  18                 THE COURT:   This happens to you folks, too,

  19    sometimes; so I figure you can imagine.

  20                 But in any event let me give you some idea right now

  21    so that you can focus your argument.       As always, when I give an

  22    inclination, it's not a ruling; it's just a preliminary

  23    thought, and the whole purpose of the hearing is to give you an

  24    opportunity to address those thoughts.        I much prefer that you

  25    point out to me things I may be missing before I rule than that
Case 1:14-cv-00066-SOM-BMK Document 40 Filed 01/15/15 Page 3 of 14   PageID #:
                                  1121
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   1    I make a mistake in ruling, which is bad for its effect on the

   2    parties and, you know, not too great if I'm going to get

   3    reversed.

   4                 So I actually am inclined to affirm the

   5    administrative hearing officer.       My thought is that on this

   6    record I don't have a reason to think that the administrative

   7    hearing officer has missed things or failed to do things that

   8    needed to be done or relied inappropriately on irrelevant or

   9    unbelievable factual assertions.       In my own review of the

  10    record I did not make a -- I did not reach a conclusion that

  11    the DOE had violated the IDEA by failing to provide the student

  12    with FAPE, and I, therefore, am not inclined to rule that the

  13    student should be reimbursed for private school tuition.           And

  14    mostly, you know, I'm concerned that, if there is a problem, it

  15    hasn't actually been identified for me in the plaintiff's

  16    briefing.    So let me turn this over to Mr. Peck so he can tell

  17    me what I may have missed.

  18                 MR. PECK:   Well, I want to do it in a courteous way;

  19    so I won't just point out what you may have missed.          I'll just

  20    present the issues.

  21                 The issue is that the IEP is developed all but the

  22    placement.    So the PLEPs are -- Present Levels of Educational

  23    Performance are ascertained, written down, the goals are

  24    derivative of the present levels of educational performance.

  25    Then you get to the services, and the services are delineated
Case 1:14-cv-00066-SOM-BMK Document 40 Filed 01/15/15 Page 4 of 14   PageID #:
                                  1122
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   1    in -- the accommodations are supposed to come next.          What

   2    accommodations does this child need in particular?           So does he

   3    need to have the work broken down?       Does he need a one-on-one

   4    aide?   Does he need various modifications and accommodations?

   5               After the whole IEP -- that part of the IEP is

   6    developed, then and only then are you supposed to go and

   7    decide, okay, given these services, this program, what is the

   8    least restrictive environment we can place this child in?           That

   9    process wasn't followed, and it's clear in the record.          I'll go

  10    back -- I'd like to make my presentation and then fill in any

  11    gaps, point out anything, so I can consistently tell you of my

  12    perspective on the law.

  13               So instead of doing that they decided after the goals

  14    and objectives this child will get 675 minutes of special

  15    education because he's going to be in special ed for those

  16    minutes.   The parent didn't know that you can get special

  17    education services in a regular education classroom; so they

  18    just went through the process.      The process was ill-formed at

  19    that point when they decided placement before they talked about

  20    the modifications, and then they placed the child in the --

  21    then they went to item 23 and ratified their previous decision

  22    about having placed this child in special education services

  23    for math and English.

  24               Now, what is the proof -- since I bear the burden

  25    what is the proof the child should not have been placed in
Case 1:14-cv-00066-SOM-BMK Document 40 Filed 01/15/15 Page 5 of 14   PageID #:
                                  1123
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   1    special education?     Well, we look at another case.        We look at

   2    Rachel H., a child of five who was put into some special ed and

   3    some regular ed, and that was deemed inappropriate by the court

   4    because this is not an education statute at all.         This is an

   5    anti-discrimination statute.      And the thrust of this statute is

   6    not to best educate the child as Rowley stands for; it is to

   7    educate the child in an appropriate manner in the least

   8    restrictive placement.

   9                This child was six months behind his classmates.          The

  10    children in the second grade, there was a child with less

  11    abilities; in first grade, two years behind the other

  12    classmates; and they did it.      The DOE admitted on the record

  13    that the IEP could have been provided in the second grade.

  14    That was an admission.     And the child is progressing from grade

  15    to grade.

  16                Now, I wonder in our circuit what is it that defines

  17    a child who should not be in an age-appropriate curriculum?              It

  18    certainly isn't based on the excuses the Department of

  19    Education gave.    Their defense was under the law we cannot

  20    accommodate this child if the child's behind because we have

  21    this core requirement that the law -- it doesn't permit us to

  22    do that.    There's no evidence in the record.      There's no law.

  23    But that's what they said the reasonings -- their reasoning

  24    was.

  25                They said that it would be better for this child to
Case 1:14-cv-00066-SOM-BMK Document 40 Filed 01/15/15 Page 6 of 14   PageID #:
                                  1124
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   1    be in special education.     That is an irrelevant concept.        The

   2    hearing officer relied on a recommendation that the child needs

   3    services.   No psychologist is credible to decide the ultimate

   4    issue as to whether this child was -- should be in a regular ed

   5    or a special ed classroom because that's a legal determination,

   6    not a psychological determination.       So when the hearing officer

   7    relied on that -- in fact, all of the bases upon which the

   8    hearing officer relied were irrelevant, and he misconstrued the

   9    law completely.    And, therefore, a de novo review should

  10    completely dismiss the hearing officer's analysis, if that's

  11    what it can be called.

  12                And, lastly, the defense of it's not the facts that

  13    show that the child should be in a regular education classroom,

  14    it's Mr. Peck.    He's the only one that thinks this because he

  15    advised his clients that this was a possibility, and the case

  16    is based on that.    That is a red herring.      The facts in the

  17    case support this, and I would love to get the opportunity to

  18    delineate this area of the law a little further.         Thank you,

  19    Your Honor.

  20                THE COURT:   Okay.   Tell me what record page you're

  21    relying on when you say that the DOE admitted that some other

  22    child -- and I assume you're arguing that there's evidence in

  23    the record that this is a similarly situated child to the child

  24    in our case; so I want to look at that place in the record so I

  25    can see if indeed the record shows that similarity.
Case 1:14-cv-00066-SOM-BMK Document 40 Filed 01/15/15 Page 7 of 14   PageID #:
                                  1125
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   1                MR. PECK:    Volume 2, page 265, and it's precursor

   2    pages.

   3                THE COURT:   Page 265?

   4                MR. PECK:    Yes.   265.    And it's certainly cited in my

   5    brief.

   6                THE COURT:   So what does it say that makes this child

   7    someone I can say is comparable to the student in our case?

   8                MR. PECK:    The comparability is only with regard to

   9    the disability and how far behind the child is.         It doesn't

  10    have to be the same or similar disability.        It's how far

  11    behind.   Because the DOE said, "Well, this child was six months

  12    behind.   It would be very hard to accommodate this child's

  13    needs six months behind."       This child here on the record was in

  14    kindergarten -- he was at the kindergarten level; so the

  15    comparability is only relevant with regard to that issue.

  16                THE COURT:   Okay.    Let me hear from Mr. Siu.

  17                MR. SIU:    Thank you, Your Honor.     I think ultimately

  18    what -- how we view it as is that the briefing has -- that has

  19    been submitted by the student falls far below the standard

  20    required for review on appeal.         It fails to highlight true

  21    error.    Because of this the department seeks affirmation of the

  22    AHO's decision based on the theory of waiver.         I believe

  23    cutting and pasting an original brief isn't sufficient.           I

  24    think this court has acknowledged that.        The amended

  25    submission, when I reviewed section II(C) it didn't seem like
Case 1:14-cv-00066-SOM-BMK Document 40 Filed 01/15/15 Page 8 of 14   PageID #:
                                  1126
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   1    it pointed out true error.      It just griped about various things

   2    that they disagreed with.

   3               In addition to waiver the department believes that

   4    the decision by the administrative hearings officer should be

   5    affirmed on its merits.     The actual decision says that the

   6    student failed to sustain their burden of proof of producing

   7    evidence, and that has never been actually sufficiently

   8    attacked by the student.

   9               The claim that has actually been submitted is that

  10    the placement in special education for math and language arts

  11    is overly restrictive, and there was no evidence submitted at

  12    trial to say that it was overly restrictive.        In fact, there

  13    was no real discussion in any submissions regarding the Rachel

  14    H. factors, and those factors are, one, educational benefit of

  15    a full-time general education placement; two, the nonacademic

  16    benefits of such placement; three, the effect of the disabled

  17    child has on the teacher and children in the regular class; and

  18    the cost of mainstreaming the child.       As we look at the hearing

  19    officer's decision, he had gone over each of those facts and

  20    explained why that there was a failure to meet -- to sustain

  21    the burden to meet those factors.

  22               This theory about the failure to -- I'm not sure how

  23    to say it, but I think he's trying to advance the procedural

  24    argument that they didn't discuss fully the general education

  25    placement in the IEP process.      That has never been alleged in
Case 1:14-cv-00066-SOM-BMK Document 40 Filed 01/15/15 Page 9 of 14   PageID #:
                                  1127
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   1    the due process hearing complaint.       I've alleged that in the

   2    very beginning of the administrative hearings officer level to

   3    the present.    We haven't agreed to argue that or accept that as

   4    a new claim, and, therefore, it's not a claim that should be

   5    adjudicated or considered on appeal.

   6               Also, the theory that, you know, the father didn't

   7    know that the kid could be in a general ed class with special

   8    education and supports, that is from the attorney.           There's no

   9    evidence to say that he could have made it in the general

  10    education setting with specialized instruction and

  11    modifications.    In fact, the evidence shows that he had been

  12    getting numerous modifications before he was referred to

  13    special education, that even with special education he was far

  14    behind his peers.    That was confirmed in the Stanford

  15    Diagnostic Reading Test.     I think the special education teacher

  16    who administered the test -- I think it's in my briefing --

  17    showed that he couldn't take the test for his age group.           He

  18    struggled to read; so she administered -- she actually broke

  19    protocol and actually helped him read the answers -- the

  20    questions to help him.     And even then he failed; so she had to

  21    go back to one grade below her, one for first graders, and even

  22    then he scored at six months behind his peers.

  23               The first grade teacher, the second grade teacher,

  24    the special education teacher, all new his abilities and his

  25    frustrations, that he was unable to keep up with his peers in
Case 1:14-cv-00066-SOM-BMK Document 40 Filed 01/15/15 Page 10 of 14     PageID #:
                                   1128
                                                                                    10


    1   general education.      He showed frustration when he wasn't able

    2   to read.    Even with modifications, close seating.           Even in

    3   history class.

    4               In history class the second grade teacher had to come

    5   up and give him a book made for first graders or kindergartners

    6   so that he could keep up and participate.        I mean, they did the

    7   best they could with his abilities, and I think there's no

    8   evidence to suggest that special ed for language arts and math

    9   with inclusion opportunities in all other subjects throughout

  10    the day, that is the LRE, and I think that's why the hearings

  11    officer's decision on the merits should be affirmed.

  12                As for this other child that Mr. Peck is referring

  13    to, that's a different child.        That IEP of that child hasn't

  14    been explored.     We don't know enough about that child's IEP or

  15    whether that child is in or out of special ed just like this

  16    child is, this special education student.        This case should be

  17    judged on this student, on this student's IEP, and whether the

  18    placement was overly restrictive.       Unless the court has other

  19    questions --

  20                THE COURT:    Okay.   Thank you.

  21                MR. SIU:    Thank you.

  22                THE COURT:    Mr. Peck, I'm going to give you the last

  23    word.

  24                MR. PECK:    Thank you, Your Honor.

  25                Without being facetious, if the standard was that
Case 1:14-cv-00066-SOM-BMK Document 40 Filed 01/15/15 Page 11 of 14   PageID #:
                                   1129
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    1   children in the public school State of Hawai'i who are six

    2   months behind the general population in the country, if the

    3   standard was that those children need to be in special ed, then

    4   every student in the State of Hawai'i would be in special ed

    5   because according to our statistics the majority of children in

    6   the Hawai'i public schools are six months behind their peers on

    7   the mainland.    If that were the standard, everybody would be in

    8   special ed; there would be no regular education classes.

    9               This is a de novo review, and this is a supremely

  10    good record for appellate review.

  11                THE COURT:   Isn't the problem, though, that was

  12    recognized by the teachers here that this student was behind

  13    the students classmates?      So your, you know, your discussion

  14    about whether students in Hawai'i are behind students in other

  15    states is not an analogy.      I think we're talking about whether

  16    the student before me was behind that student's classmates

  17    here.

  18                And, actually, you know, really let's be fair.         It is

  19    not the case that every student in a public school in Hawai'i

  20    is behind the students out of state.        That's just like false.

  21                MR. PECK:    There's a good majority that are, Your

  22    Honor.

  23                THE COURT:   But, I mean, that's just not true what

  24    you said, and you --

  25                MR. PECK:    I disagree on the fact that you could call
Case 1:14-cv-00066-SOM-BMK Document 40 Filed 01/15/15 Page 12 of 14   PageID #:
                                   1130
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    1   it that non-analogy.     I think there is an analogous situation

    2   there.   But if you're going to say that being six months behind

    3   your classmates in general classes makes this child ineligible

    4   to be in those classes, that's a ridiculous statement.

    5               THE COURT:   I think --

    6               MR. PECK:    There are children --

    7               THE COURT:   Excuse me.

    8               MR. PECK:    -- no child in special education could be

    9   six months behind their classmates.        That rule would fall.

  10                THE COURT:   Nobody is arguing that.      So what you just

  11    said is trying to overcome an argument that nobody is making,

  12    and you might want to move on to really address the arguments

  13    that are being made here.      Nobody has argued that whenever

  14    you're six months behind your classmates you automatically have

  15    to go into special ed classess.       I didn't see any such argument

  16    by the DOE.    I don't think anything I've ever said has

  17    suggested such a thing.

  18                MR. PECK:    That was one of the bases upon which the

  19    child was excluded; so I don't know you understand that to be

  20    an argument, but I do.

  21                THE COURT:   It was the case that the child was

  22    behind, but if that were the only circumstance presented by the

  23    child, I don't think anybody has said that that circumstance

  24    warrants putting the child into special education classes with

  25    nothing else.    I don't think anybody's making that argument or
Case 1:14-cv-00066-SOM-BMK Document 40 Filed 01/15/15 Page 13 of 14   PageID #:
                                   1131
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    1   has ever made that argument.

    2               MR. PECK:    We differ in that regard, Your Honor.          And

    3   I would like to submit this case.

    4               THE COURT:   I'm sorry?

    5               MR. PECK:    I have presented my case.     I feel

    6   confident in what I presented, and I'm ready to -- unless you

    7   have further questions.

    8               THE COURT:   Okay.   I guess the reason that I'm at a

    9   loss for words, I have often heard judges inform attorneys

  10    that, okay, the arguments are done, the judges have heard

  11    enough, the case is considered to be under submission.           What

  12    you just said represents the first time I've ever heard an

  13    attorney decide to tell a judge, "I would like to submit the

  14    case and end this hearing, Judge.       You have enough."

  15                MR. PECK:    Well, you're misquoting me, Your Honor.

  16                THE COURT:   I'm really taken aback.

  17                MR. PECK:    You're misquoting me, Your Honor.       I said

  18    I'd like to submit -- I'm done, but I'd take further questions.

  19    That's a totally different thing than what you just misquoted

  20    me on; so the record stands.

  21                THE COURT:   Okay.   I'll take it under advisement.

  22    Thank you very much.

  23          (Court recessed at 9:55 A.M.)

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Case 1:14-cv-00066-SOM-BMK Document 40 Filed 01/15/15 Page 14 of 14   PageID #:
                                   1132
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    1                       COURT REPORTER'S CERTIFICATE

    2               I, Debra Kekuna Chun, Official Court Reporter, United

    3   States District Court, District of Hawaii, do hereby certify

    4   that pursuant to 28 U.S.C. §753 the foregoing is a complete,

    5   true, and correct transcript of the stenographically reported

    6   proceedings held in the above-entitled matter and that the

    7   transcript page format is in conformance with the regulations

    8   of the Judicial Conference of the United States.

    9               DATED at Honolulu, Hawaii, January 9, 2015.

  10

  11                                             /s/ Debra Chun

  12                                             DEBRA KEKUNA CHUN

  13                                             RPR, CRR

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